              Case 2:15-md-02641-DGC Document 19444-2 Filed 07/10/19 Page 1 of 25

                                              EXHIBIT 2
                            Admitted Exhibit List from Bellwether Trials and
                        Document deemed no longer subject to the Protective Order

Trial Ex.
            Notes                                                        Description
  No.
   79                  2/19/2004 Characterization of RNF - Migration resistance; TPR-04-02-02 REV 0 Test protocol for migration
                       resistance Characterization of RNF - Migration resistance
  354                  9/19/2006 PPT re G2; Caudal Movement causes tilting which leads to perforation PPT last modified
                       3/16/2009 (custodian Mike Randall)
  443                  11/30/2008 G2 and G2X Fracture Analysis Reporting date range 7/1/2005 thru 11/30/2008
  447                  4/1/2009 Filter - Fracture Analysis (June 2010)
  495                  3/26/2015 Recovery Filter System; Recovery Filter Overview
  504                  Eclipse Concept POA
  545                  Altonaga Deposition, 10/22/2013, Exhibit 03 - 2/26-2/27/2004 E-mail exchange b/w Hudnall and David
                       Rauch of BPV Re. "Case for Caval Centering"
  546                  Altonaga Deposition, 10/22/2013, Exhibit 04, Lehmann Deposition 4/2/13, Ex. 14 and Ferarra, Ex. 7, Barry
                       Deposition, 01/31/2014, Exhibit 18 - 4/13-4/15/2004 E-mail exchange b/w Lee Lynch, Lehmann, and others
                       Re. "Crisis Plan and Supporting Documents for Your Review"
  552                  Asch 202, 5/18/1999 Letter from Thomas Kinst, Product Manager of Filters at NMT Medical, to Monica
                       Coutanche, Marketing Manager at Bard Canada, Inc.
  553                  Asch Deposition, 05/02/2016 - Exhibit 203 - 9/14/2002 Memo from Thomas Kinst to Recovery Filter Design
                       History File Re. Recovery Filter Compassionate Use, Subject: "Conference call with Bard Peripheral
                       Technologies regarding clinical assessment of Recovery Filter removal #5"
  556                  Asch Deposition, 05/02/2016 - Exhibit 207 - 1/26/2001 Letter from Mount Sinai Hospital to Dr. Asch Re.
                       "Assessment of a New Temporary/Removable IVC Filter" - and - 11/8/2001 Letter from Mount Sinai
                       Research Ethics Board Re. "MSH Reference #01-0161-U
  557                  Asch Exh. 208, BPV-17-01-00056765 -766, /28/2000 E-mail from Paul Stagg to Cavagnaro, Mellen,
                       Uelmen, Vierling, and Field Re. "Fwd [2]: compassionate IVC filters" (from Asch)
  559                  Asch Exh. 210, BPV-17-01-00052621, 4/17/2002- Email from George Cavagnaro to Doug Uelmen and
                       Carol Vierling, dated April 18, 2002



                                                        1
              Case 2:15-md-02641-DGC Document 19444-2 Filed 07/10/19 Page 2 of 25

                                              EXHIBIT 2
                            Admitted Exhibit List from Bellwether Trials and
                        Document deemed no longer subject to the Protective Order

Trial Ex.
            Notes                                                      Description
  No.
  561                  Asch Deposition, 05/02/2016 - Exhibit 212 - Special 510(k) Submission for the Recovery Filter System,
                       K022236, dated 11/27/2002
  563                  Asch Deposition, 05/02/2016 - Exhibit 218 - Information for Use - Recovery Filter System, Dated 2004
  567                  Asch Deposition, 05/02/2016 - Exhibit 223 - 3/10/2003 Letter from Dr. Asch Re support for RF
  571                  Baird Deposition, 06/09/2016 - Exhibit 301 - PowerPoint Presentation entitled BPV Filter Franchise Review
                       dated 5/6/2008 (colored and 43 pages)
  587                  Baird Deposition, 06/09/2016 - Exhibit 318 - Aug. 2010 Article by Nicholson et al. entitled "Online First:
                       Prevalence of Fracture and Fragment Embolization of Bard Retrievable Vena Cava Filters and Clinical
                       Implications Including Cardiac Perforation and Tamponade"
  588                  Baird Deposition, 06/09/2016 - Exhibit 319 - 11/12/2009 E-mail from Bret Baird to Bill Little, John Van
                       Vleet, and Gin Schulz, with others CCed, Re. "Bard Filter Fractures presentation online"
  589                  Baird Deposition, 06/09/2016 - Exhibit 320 - ABA Project Agreement with BPV, Inc., dated 11/9/2010
  590                  Baird Deposition, 06/09/2016 - Exhibit 321 - 11/29-12/1/2010 E-mail exchange b/w Bret Baird and Jimmy
                       Balwit Re. "White Paper, Proof 2"
  591                  Baird Deposition, 06/09/2016 - Exhibit 322 - Bard Idea POA on the Denali Filter, Project No. 8108 Rev. 0.0,
                       revised August 2009 by Bret Baird
  592                  Baird Deposition, 06/09/2016 - Exhibit 325 - 4/28/2010 E-mail from Bret Baird to the Sales Team
  614                  Betensky 02/2017 Expert Report - Adverse event reports and monthly sales totals through May 2011
  631                  Betensky Expert Report - DFMEA070044, Rev. 3: G2 Express - Design Failure Mode and Effects Analysis
  635                  Betensky Expert Report - DFMEA070077, Rev. 1: Eclipse (Vail) Filter System - Design Failure Mode and
                       Effects Analysis
  677                  SOF Filter Fracture Analysis, August 2010, Reporting range 7/1/05 - 8/31/10, G2, G2X, and Eclipse
  691                  Boyle, 02/02/2017, Exhibit 842 - E-mail chain first one from John Van Vleet to Steve Williamson, dated
                       11/5/2015, 6 pages



                                                         2
                  Case 2:15-md-02641-DGC Document 19444-2 Filed 07/10/19 Page 3 of 25

                                                  EXHIBIT 2
                                Admitted Exhibit List from Bellwether Trials and
                            Document deemed no longer subject to the Protective Order

Trial Ex.
                Notes                                                      Description
  No.
  696                      Brauer Deposition, 05/23/2014 - Exhibit 16 - Testimony of Marcia Crosse, Director of Health Care, before
                           the Subcommittee on Health, Committee on Energy and Commerce, House of Representatives Re. "Medical
                           Devices ¬Shortcomings in FDA's Premarket Review, Postmarket Surveillance, and Inspections of Device
                           Manufacturing Establishments", dated 6/18/2009
  709                      Brauer, 08/02/2017, Exhibit 1046 - Bard Simon Nitinol Filter, Postmarket Surveillance Study Amendment,
                           August 10, 2014
  730                      Carr Deposition, 04/17/2013 - Exhibit 01 - Class of Plaintiffs' Notice of Taking Rule 30(b)(6) Deposition
                           Duces Tecum in Case No. 12-80951- CIV-ROSENBAUM
  735                      Carr Deposition, 04/17/2013 - Exhibit 07 - Bard Idea POA - Eclipse Anchor Filter, caudal migration, Rev 0,
                           4/1/2010 E-mail exchange b/w Tracy Estrada and Ed Fitzpatrick
  737                      Carr Deposition, 04/17/2013 - Exhibit 09 - 8/22-8/25/2008 E-mail exchange b/w Bret Bard, Mike Randall,
                           and Natalie Wong Re. "[Redacted] Conference call - complaint on fracture"
  755                      Carr Deposition, 10/29/2014 - Exhibit 3A - E-mail exchange b/w Hudnall and others from 3/9-10/4/2005 Re.
                           "Special Accounts Roadshow"
  764       REDACTED       Carr Deposition, 11/05/2013 - Exhibit 14 - 5/27/2004 E-mail b/w Greer, Carr, Hudnall, and Sullivan re.
                           "Bariatric patients and filters", "Stay out of the buffet line", BPVE-01-00010858 -859
  769                      Carr Deposition, 12/19/2013 - Exhibit 05 - BPV Meridian Claims Matrix, dated 7/2/2010
  770                      Carr Deposition, 12/19/2013 - Exhibit 06 - Bard's Denali Concept Product Opportunity Appraisal, POA-
                           8108, Rev. 1.0
  800                      Carr Deposition, 12/19/2014 - Exhibit 18 - NMT RNF PDT Meeting Notes re Product Development Team,
                           01/13/1998
  802                      Carr Deposition, 12/19/2014 - Exhibit 20 - NMT R&D Technical Report, RD-RPT-128, 09/01/2000,
                           Investigation Report of a Migrated Recovery Filter in the Human Use Experience at Mt. Sinai Hospital
  854       REDACTED       Carr Deposition, November 5, 2013 - Exhibit 15 - 12/12/2004 E-mail from Uelmen to Kellee Jones,
                           attaching 12/9/2004 Remedial Action Plan (Revised) SPA-04-12-01




                                                            3
                  Case 2:15-md-02641-DGC Document 19444-2 Filed 07/10/19 Page 4 of 25

                                                  EXHIBIT 2
                                Admitted Exhibit List from Bellwether Trials and
                            Document deemed no longer subject to the Protective Order

Trial Ex.
                Notes                                                      Description
  No.
  876                      Chanduszko Deposition, 04/23/2015 - Exhibit 17 - Pages 30-44 of Notebook No. 7013, Project: Recovery
                           Filter Arm Fatigue Testing
  905                      Ferrara Exh. 19, BPVE-01-00245186 -188, Email chain re G2 Caudal Migrations 12/27/2005
  922                      Ciavarella Deposition, 11/12/2013 - Exhibit 22 - Chart of Sales and Adverse Events for all competitors from
                           Q3/00 through Q2/03, according to the MAUDE database.
  923                      Ciavarella Deposition, 11/12/2013 - Exhibit 24 - Summary of Sales and Adverse Events for all competitors
                           from 01/00 through Q1/04
  924                      Ciavarella Deposition, 11/12/2013 - Exhibit 26 - Chart of Sales and Adverse Events for all competitors from
                           01/00 through Q1 2006, according to the MAUDE database.
  925                      Ciavarella Deposition, 11/12/2013 - Exhibit 28 - PowerPoint presentation entitled "Filters Complaint History
                           Data as of 7/31/2007" by Natalie Wong.
  926       REDACTED       Ciavarella Deposition, 11/12/2013 - Exhibit 31 - 8/3/2005 Memo from C. Ganser to T. Ring/J. Weiland Re.
                           IVC Recovery Filter Adverse Events (Migrations/Fractures)
  927                      Ciavarella Deposition, 11/12/2013 - Exhibit 35 - Health Hazard Evaluation Memo from Ciavarella to
                           Uelmen Re. "Recovery Filter - Consultant's report", dated 12/17/2004
  931                      Ciavarella Deposition, 11/12/2013 - Exhibit 39 - Draft of Updated Health Hazard Evaluation Memo from
                           Ciavarella to Uelmen, re: "Limb Fractures of Recovery Filter", dated 7/9/2004.
  932                      SWOT Analysis; 5/6/2008 PowerPoint presentation entitled "Filter Franchise Review" BPVE-01-00622862 -
                           900
  945                      Cohen Exh. 736, BPVE-01-00074004 - 006, IVC Filters - Covered Stents, Monthly Report April, 2004
  965                      Cohen Exh. 757, BPVEFILTER-01-00148562, E-mail dated 12/15/04, with attached FDA Filter Information,
                           FDA called Temple to speak with Cohen
  991                      Cortelezzi, 11/11/2016, Exhibit 586 - 12/23/2005 E-mail from David Ciavarella Re. "G2 Caudal
                           Migrations", forwarded to Brian Barry on 12/27. Worst case consequence of migrations - accompanied in a
                           majority of tilt cases. Would like to now look at G2 complaints.



                                                            4
                  Case 2:15-md-02641-DGC Document 19444-2 Filed 07/10/19 Page 5 of 25

                                                  EXHIBIT 2
                                Admitted Exhibit List from Bellwether Trials and
                            Document deemed no longer subject to the Protective Order

Trial Ex.
                Notes                                                      Description
  No.
  992                      Cortelezzi, 11/11/2016, Exhibit 588 - 7/16/2005 E-mail from Jason Greer to many Re. "Westy's
                           situation…everyone's situation", detailing Bard's need to respond to Cordis' bringing forward the Maude
                           database to physicians and "causing a problem"
  994                      D'Ayala Exh. 4, G2 Filter System for Permanent Placement, IFU, G2 Filter System, 10/2006, Rev. 5,
                           PK5100030, BPV-17-01-00137425 - 432 (also used with Muehrcke)
  1001                     D'Ayala Exh. 13, Evidence-Based Evaluation of Inferior Vena Cava Filter Complications Based on Filter
                           Type
  1006                     DeCant Deposition, 05/24/2016 - Exhibit 254 - 12/9/2003 Meeting Minutes Memo from Brian Hudson to
                           Len DeCant, Mike Casanova, Robert Carr, and Alex Tessmer Re. "Special Design Review for Recovery
                           (Project #'s 7081 and 8008)"
  1009      REDACTED       DeCant Deposition, 05/24/2016 - Exhibit 258 - 4/6/2004 Memo from Peter Palermo to Doug Uelmen Re.
                           "Remedial Action Plan - BPV Recovery Nitinol Vena Cava Filter", including the Remedial Action Plan SPA
                           04-03-01 on the Recovery Filter, dated 3/26/2004
  1014      REDACTED       DeCant Deposition, 05/24/2016 - Exhibit 264 - 6/11/2004 Memo from Pete Palermo to Doug Uelmen Re.
                           "Remedial Action Plan - BPV Recovery Filter - Migration"
  1018      REDACTED       DeCant Deposition, 05/24/2016 - Exhibit 268 - 9/27/2004 Memo from Pete Palermo to Doug Uelmen Re.
                           "Remedial Action Plan - BPV Recovery Filter - Migration (SPA-04-05-01)"
  1022      REDACTED       DeCant Deposition, 05/24/2016 - Exhibit 274 - Failure Investigation Report on the Recovery Filter
                           Migration, FIR-04-12-01 Rev. 00
  1023                     DeCant Deposition, 05/24/2016 - Exhibit 275 - Internal Presentation on the G2 Filter System for Permanent
                           Use, detailing the design modifications, features/benefits, and comparison to the Recovery Filter
  1031      REDACTED       Deford Deposition, 06/02/2016 - Exhibit 283 - BPV File on The Recovery Filter Migration, including
                           Minutes from the 2/12/2004 Migration Meeting
  1036                     Deford Deposition, 06/02/2016 - Exhibit 296 - 9/26-9/27/2007 High Importance E-mail exchange b/w
                           Dennis Salzmann, John Van Vleet, and John Reviere of BPV, with others CCedd, Re. "Comments on Rev
                           H". Discussion about concern for over-reporting of the SIR guidelines re- classification and removal of the
                           retroperitoneal bleed, and replacing consultant John Lehmann


                                                             5
                  Case 2:15-md-02641-DGC Document 19444-2 Filed 07/10/19 Page 6 of 25

                                                  EXHIBIT 2
                                Admitted Exhibit List from Bellwether Trials and
                            Document deemed no longer subject to the Protective Order

Trial Ex.
                Notes                                                       Description
  No.
  1053                     Edwards Deposition, 01/20/2014 - Exhibit 02 - 3/28/2003 Document RE. "Product Opportunity Appraisal for
                           Recovery Filter", FM070018, Doc No. POA-7081, Version 000
  1062                     BPV PowerPoint presentation entitled "BPV/AngioMed New Product Development Review Meeting - April
                           26, 2004"
  1130                     Ferrara Exh. 3, Email Chain from Regina Busenbark to Robert Ferrara 1-12-2006
  1133                     Ferrera Deposition, 04/07/2017, Exhibit 11 - Recovery Filter Arm Fracture, Remedial Action Plan
                           September 2, 2004
  1140      REDACTED       Ferrera Deposition, 04/07/2017, Exhibit 25 - Presentation titled Filter-Fracture Analysis
  1149                     Fuller Deposition, 01/11/2016 - Exhibit 123 - NMT Report Entitled "Line Extension to the Simon Nitinol
                           Filter®/Straight Line System, To Be Referred As: TRADEMARK Retrievable Filter"
  1211                     Ganser Deposition, 10/11/2016 - Exhibit 516 - 21 U.S.C.A. § 351, Adultered Drugs and Devices, Effective
                           7/9/2012
  1214      REDACTED       Ganser Deposition, 10/11/2016 - Exhibit 523 - Several memos: (1) 12/8/2004 BPV Memo from John
                           McDermott to Tim Ring and John Weiland Re. "Monthly Global PV Report - November 2004"; (2)
                           12/8/2005 BPV Memo from John McDermott to Tim Ring and John Weiland Re. "Monthly Global PV
                           Report - November 2005; (3) 2/10/2006 BPV Memo from John McDermott to Tim Ring and John Weiland
                           Re. "Monthly Global PV Report - January 2006; and (4) 2/8/2007 BPV Memo from John McDermott to Tim
                           Ring and John Weiland Re. "Monthly Global PV Report - January 2007
  1216                     Ganser Deposition, 10/11/2016 - Exhibit 526 - Regulatory Affairs Manual Re. "Product Remedial Actions",
                           RA-STD-002 Rev. 08, dated 10/12/2000
  1219      REDACTED       Ganser Deposition, 10/11/2016 - Exhibit 529 - 6/30/2004 Updated Health Hazard Evaluation from David
                           Ciavarella, M.D. to Doug Uelmen Re. "Migration of Recovery Filter"
  1220      REDACTED       Ganser Deposition, 10/11/2016 - Exhibit 530 - 8/25/2004 E-mail from Avijit Mukherjee to Robert Carr,
                           Janet Hudnall Cced, Re. "Recovery Filter objective statement", proposing one objective statement for the
                           Recovery Filter G1A project, which Hudnall thought sounded "great"
  1221      REDACTED       Ganser Deposition, 10/11/2016 - Exhibit 533 - 2/15/2006 Health Hazard Evaluation from David Ciavarella
                           to Gin Schulz Re. "G2 Inferior Vena Cava Filter - Migration"

                                                             6
                  Case 2:15-md-02641-DGC Document 19444-2 Filed 07/10/19 Page 7 of 25

                                                  EXHIBIT 2
                                Admitted Exhibit List from Bellwether Trials and
                            Document deemed no longer subject to the Protective Order

Trial Ex.
                Notes                                                    Description
  No.
  1222      REDACTED       Ganser Deposition, 10/11/2016 - Exhibit 534 - PowerPoint Presentation for a meeting to analyze EVEREST
                           and MAUDE data and provide justifications for proposed changes to G2 filter
  1295                     Graves Deposition, 02/27/2014 - Exhibit 10 - 3/23/2006 E-mail exchange b/w Mickey Graves and Charlie
                           Simpson, FEA on G2, regarding Historical FEA analysis
  1335                     Hudnall Deposition, 11/01/2013, Exhibit 21 - Brochure - Recovery Cone Removal System
  1336                     Hudnall Deposition, 11/01/2013, Exhibit 22 - Recovery G2 Filter System brochure
  1337                     Hudnall Deposition, 11/01/2013, Exhibit 23 - G2 Brochure (permanent) - Patient Questions & Answers and
                           Bard's website page about G2 Filter System, Indicated for removal, 6/10/2010
  1339      REDACTED       Hudnall Deposition, 11/01/2013, Exhibit 29 - 7/6/2004 E-mail exchange b/w Hudnall and Bob Cortelezzi Re.
                           "Maude Website Discussion"
  1369                     Hudson Deposition, 01/17/2014 - Exhibit 16 - 3/24/2004 E-mail from Alex Tessmer to Charlie Benware and
                           Ed Fitzpatrick Re. "Starguide Filter Migration Test Results"
  1370                     Hudson Deposition, 01/17/2014 - Exhibit 18 - 12/11/2003 E-mail exchange b/w Brian Hudson and Janet
                           Hudnall, others CC'ed, Re. "Special Design Review for Recovery - Meeting Minutes".
  1383                     Hudson Deposition, 01/17/2014, Exhibit 13 - BPV Engineering Test Report - Characterization of Recovery
                           Filter Migration Resistance in Comparison to Competitive Product - Phase 1, ETR-04-03-02, Rev 0.
  1500                     Kessler Report - August 7, 2010, John Van Vleet emailed BPV President Jim Beasley, Marketing Director
                           Bill Little, and V.P. of QA Gin Schulz
  1517                     EVEREST Track wise and MAUDE PowerPoint, BPV-17-01-00188507
  1568                     Kessler Report - September 30, 2010 memo from Brett Baird to Eclipse DRT, with the subject line “Eclipse
                           Post-Market Design Review/Marketing Summary,” stated: “The objective of the Eclipse Filter project was to
                           enhance the G2 X filter surface finish…"
  1578                     ETR-06-28-29, revision 0, project #8049, Caudal Migration Test Method Development and G2 Filter
                           Resistance Test Report, 11/27/06, BPVE-01-00789532
  1580      REDACTED       Kessler Report -July 12, 2004 email from Bard’s VP of Regulatory Sciences Chris Ganser, to Tim Ring and
                           John Weiland, attached “an executive summary of Recovery Filter adverse events (migration and fracture”

                                                           7
                  Case 2:15-md-02641-DGC Document 19444-2 Filed 07/10/19 Page 8 of 25

                                                  EXHIBIT 2
                                Admitted Exhibit List from Bellwether Trials and
                            Document deemed no longer subject to the Protective Order

Trial Ex.
                Notes                                                      Description
  No.
  1594      REDACTED       Lehmann Deposition, 04/02/2013 - Exhibit 08 - 2/16/2005 E-mail from Charlie Simpson to Hudnall Re.
                           "American Venous Forum - Mary Protocor presented an evaluation of filter related findings from the Maude
                           database"
  1612                     Lehmann Deposition, 08/07/2014, Exhibit 08 - Updated Health Hazard Evaluation Memo from Ciavarella to
                           Uelmen, re: "Limb Fractures of Recovery Filter", dated 7/9/2004
  1613                     Lehmann Deposition, 08/07/2014, Exhibit 09 - 6/10/2004 E-mail exchange b/w Ciavarella and Cindi Walcott
                           Re. "Recovery Filter/Detachments"
  1616                     Little Deposition, 06/27/2016 - Exhibit 2003 - "Patient Questions & Answers" Brochure for the G2 Filter
                           System
  1617                     Little Deposition, 06/27/2016 - Exhibit 2004 - Chart entitled "EVEREST/Cook Celect Clinical Comparison"
  1618                     Little Deposition, 06/27/2016 - Exhibit 2005 - 4/27/2010 BPV Memo from Filter Marketing to Bill Little Re.
                           "Filter naming", detailing the name rational for the Eclipse and Denali
  1621                     Little Deposition, 06/27/2016 - Exhibit 2009 - "Fractures of a Nitinol IVC Filter" presentation by Dr. W. Jay
                           Nicholson on www.CRTonline.org, in which he reviewed a single center experience on fractures with the
                           Bard Recovery and G2 filters
  1643                     McDermott Deposition, 02/05/2014 - Exhibit 02 - Bard's Product Performance Specification Report on the
                           Recovery Filter and Femoral Delivery System, PPS No. PPS070016 Rev. 0
  1680      REDACTED       McDonald Deposition, 07/29/2016 - Exhibit 21 - 7/13/2015 Warning Letter from the FDA regarding the
                           11/25/2014 Inspection of the C.R. Bard facility in NY and the 11/18/2014-1/5/2015 Inspection of the BPV
                           facility in AZ
  1740                     Modra Deposition, 06/06/2014 - Exhibit 5 - 1/18/2010 E-mail from Bret Baird (Marketing Manager of IVC
                           Filters) to Sales Team list serve (TPE-PV Sales-DG) Re. "Important: Eclipse Vena Cava Filter Launch
                           Details"
  1742                     Modra Deposition, 06/06/2014 - Exhibit 7 - Product Opportunity Appraisal for the G2 Platinum Concept,
                           POA-8088 Rev. 1.0, Revised on 5/5/2009
  1763                     Modra, 01/26/2017, Exhibit 771A - Chart entitled "Design Failure Mode and Effects Analysis" on the Simon
                           Nitinol Filter - SNF/SL Filter Sets (DFMEA070042 Rev. 1)

                                                             8
                      Case 2:15-md-02641-DGC Document 19444-2 Filed 07/10/19 Page 9 of 25

                                                        EXHIBIT 2
                                      Admitted Exhibit List from Bellwether Trials and
                                  Document deemed no longer subject to the Protective Order

Trial Ex.
                   Notes                                                         Description
  No.
  1787                           Orms Deposition, 08/16/2016 - Exhibit 13 - 11/9/2010 E-mail Thread from Chris Smith Re. "Northside(S)
                                 Filter Business"
  1788                           Orms Deposition, 08/16/2016 - Exhibit 14 - 10/2/2010 E-mail Thread from Jeffrey Pellicio Re. "Meridian
                                 Commercialization Plan"
  1817                           Raji-Kubba Deposition, 07/18/2016 - Exhibit 301 - 5/14/2009 E-mail from Bill Edwards to Raji-Kubba and
                                 Mike Randall Re. "Tomorrow"
  1821                           Raji-Kubba Deposition, 07/18/2016 - Exhibit 305 - 11/12/2009 E-mail from Bret Baird to Bill Little, John
                                 Van Vleet, and Gin Schulz
  1822                           Raji-Kubba Deposition, 07/18/2016 - Exhibit 307 - 1/21/2010 Bard Memo from Jeffrey Pellicio to
                                 "Reviewers"
  1823                           Raji-Kubba Deposition, 07/18/2016 - Exhibit 308 - 1/4/2010 E-mail from Gin Schulz to Beasley, Raji-
                                 Kubba, Van Vleet, Doherty, and Little Re. "Potential Actions"
  1825                           Raji-Kubba Deposition, 07/18/2016 - Exhibit 310 - 9/1/2009 E-mail from Mike Randall Re. "0809 Filters
                                 Monthly Report.doc"
  1861      Only admitted Pgs.   Randall, 01/18/2017, Exhibit 634 - Binder labeled "Meridian Design History File DHF, Vol. II"
            38 & 70
  1912                           Romney Deposition, 09/07/2016 - Exhibit 2039 3/16/2006 E-mail from Jason Greer to Janet Hudnall
  1926                           Romney, 01/18/2017, Exhibit 2061 - 8/6/2014 E-mail from Schyler Smith, Field Manager for BPV in
                                 Washington-Idaho-Montana, to Kim Romney, Subject redacted, relaying that a redacted doctor had placed a
                                 Meridian in the past year and discovered at retrieval that an arm fractured, which imaging confirmed had
                                 occurred within 1 week of placement, and was now wondering if he should try to remove the filter or leave it
                                 in. Van Vleet forwarded to Treratola in a high importance e-mail on 8/7, requesting that he contact the doctor
                                 on Bard's behalf.
  1940      REDACTED             Schulz Deposition, 01/30/2014 - Exhibit 11 - Chart of Adverse Events and Deaths for all competitors from
                                 Prior Evaluation through Q3 2005 and from




                                                                   9
                  Case 2:15-md-02641-DGC Document 19444-2 Filed 07/10/19 Page 10 of 25

                                                  EXHIBIT 2
                                Admitted Exhibit List from Bellwether Trials and
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Trial Ex.
                Notes                                                     Description
  No.
  1941      REDACTED       Schulz Deposition, 01/30/2014 - Exhibit 12 - 11/30/2005 E-mail exchange b/w Gin Schulz and Kellee Jones
                           re Gin, G2 v. Maude and attachments, Spread Sheet - Filter Sales (IMS Q1 '00 to Q4 '04, + Trend Q1 - Q3
                           '05)
  1944                     Schulz Deposition, 01/30/2014 - Exhibit 15 - 5/19/2006 E-mail from Natalie Wong to Gin Schulz and Candi
                           Long, attaching the PowerPoint Presentation on "Recovery (Gen 1) Fracture Slides" (included in exhibit) and
                           RNF Fracture Report (not included), updated to be current as of 5/18/2006 for the Management Review
  1945                     Schulz Exh. 16, BPVEFILTER-01-00008798 - 851, 10/1/2006 E-mail from Natalie Wong to Several Re.
                           "Fracture Docs"
  1946                     Schulz Deposition, 01/30/2014 - Exhibit 17 - 2/2/2006 E-mail from Gin Schulz to Several Re. "Minutes"
  1947                     Schulz Deposition, 01/30/2014 - Exhibit 19 - 5/10/2006 E-mail from Natalie Wong Re. "FDA Proposed
                           Response"
  1948                     Schulz Deposition, 01/30/2014 - Exhibit 2 - 1/31/2006 E-mail from Gin Schulz to Mickey Graves and
                           Natalie Wong Re. "Caudal"
  1949                     Schulz Deposition, 01/30/2014 - Exhibit 21 - 6/28/2011 Email Chain from Brian Hudson to Kevin Bovee
                           and Chad Modra Re Talking Points Including attachment
  1950                     Schulz Deposition, 01/30/2014 - Exhibit 4 - Meeting Summary of the IVC Filter Focus Group meeting held
                           on 6/1/2006 in Chicago, IL at Hilton O'Hare
  1951                     Schulz Deposition, 01/30/2014 - Exhibit 5 - 1/31/2005 Memo from Peter Palermo to Kerry Chunko Re.
                           "Quality Plan 2005"
  2045                     Sullivan Deposition, 09/16/2016 - Exhibit 431 - Marketing Brochure - G2 Filter System for Permanent
                           Placement
  2048      REDACTED       Sullivan Deposition, 09/16/2016 - Exhibit 437 - Document entitled "Failure Investigations/R002 History
                           Review"
  2049                     Sullivan Deposition, 09/16/2016 - Exhibit 439 - 11/17/2004 Updated Health Hazard Evaluation Memo from
                           David Ciavarella, M.D. to Doug Uelmen, Re: "Limb Fractures of Recovery Filter"




                                                           10
                  Case 2:15-md-02641-DGC Document 19444-2 Filed 07/10/19 Page 11 of 25

                                                  EXHIBIT 2
                                Admitted Exhibit List from Bellwether Trials and
                            Document deemed no longer subject to the Protective Order

Trial Ex.
                Notes                                                     Description
  No.
  2052                     Wong Exh. 546, BPVE-01-01239757 - 775, Draft of PowerPoint Presentation entitled "G2 and G2X Fracture
                           Analysis", dated 11/30/2008
  2057      REDACTED       Sullivan, 11/03/2016, Exhibit 442 - Recovery Filter Migration Remedial Action Plan SPA-04-12-01 dated
                           1/4/2005, including the Lehmann Report and Dr. Ciavarella's 12/17/2004 HHE titled "Recovery Filter -
                           Consultant's report"
  2059                     Tessmer Deposition, 06/12/2013 - Exhibit 02 - Project Status Report Form for the Recovery Filter, Project
                           No. 7081, initiated 7/1/2002 with the goal to "Investigate Migration"; FM0700160, Rev. 1
  2061                     Tessmer 5, BPVE-01-00000230, 2/4/2004 E-mail from Alex Tessmer to Several Re. "Updated: Filter
                           Migration Flow Loop Test Fixture"
  2062                     Tessmer Deposition, 06/12/2013 - Exhibit 07 - 1/14/2004 Memo from Rob Carr to File Re. "Design Review
                           Meeting Minutes Response"
  2063                     Tessmer Deposition, 06/12/2013 - Exhibit 08 - 2/25/2004 E-mail from Alex Tessmer to Robert Carr and
                           Brian Hudson Re. "Filter Migration Test Results
  2065                     Tessmer Deposition, 06/12/2013 - Exhibit 11 - BPV Engineering Test Report - Characterization of Recovery
                           Filter Migration Resistance When Legs are Crossed or Hooks Removed - Phase 2, ETR-04-03-10, Rev 0
  2068                     Tessmer Deposition, 06/12/2013 - Exhibit 17 - 6/8/2004 "High" Importance E-mail from Alex Tessmer to
                           Carr, Chanduszko, and Hudson Re. "Filter Improvement DOE"
  2069                     Tessmer Deposition, 06/12/2013 - Exhibit 19 - 8/26/2004 E-mail from Alex Tessmer to Robert Carr and
                           Avijit Mukherjee Re. "Corporate Presentations"
  2090                     Tillman, 08/04/2017, Exhibit 1064 - NMT PowerPoint, Cprdos, 06/14/2000
  2105                     Trerotola, 01/20/2017, Exhibit 692 - 4/30/2015 E-mail from Dr. Trerotola to John Van Vleet, forwarding an
                           article from Forbes Magazine about ALN filters entitled "Effect of a Retrievable IVC Filter Plus
                           Anticoagulation vs. Anticoagulation Alone on Risk of Recurrent PE: A Randomized Clinic Trial". Per
                           Trerotola, "not good for ALN...and maybe not good for the industry". The article was discussed through 5/4,
                           as they were meeting that day to review articles before meeting with JVV.
  2149                     Vierling Deposition, 05/11/2016 - Exhibit 231 - 12/13/2001 E-mail from Carol Vierling to
                           kaufmajo@ohsu.edu, Paul Stagg, and Connie Murray Re. "RF Protocol"

                                                           11
                  Case 2:15-md-02641-DGC Document 19444-2 Filed 07/10/19 Page 12 of 25

                                                  EXHIBIT 2
                                Admitted Exhibit List from Bellwether Trials and
                            Document deemed no longer subject to the Protective Order

Trial Ex.
                Notes                                                      Description
  No.
  2153                     Vierling Deposition, 05/11/2016 - Exhibit 236 - 6/3/2002 Memo from Lynn Buchanan-Kopp to Project 7081
                           Design History File Recovery Filter Project Team Re. "Project Phase Clarification", defining the 3 phases of
                           the Recovery filter project (I. Permanent; II. Intraprocedural Removal; and III. Long-Term Removable), as
                           decided at the project team meeting on 5/20/2002
  2217                     Williamson Deposition, 09/07/2016 - Exhibit 105 - Cover page entitled "Attachment 1.14", followed by the
                           1/23/2015 Memo from Ludwig to Chad Modra Re. "IVC Filters Retrospective Review", detailing the 2-year
                           review of 939 filter complaints from 1/2013 to 1/2015, with a chart detailing whether the MDR classification
                           changed for any complaints
  2238                     Wilson, 01/31/2017, Exhibit 801 - E-mail string, Subject: Meridian Commercialization Plan
  2243                     Wong Deposition, 10/18/2016 - Exhibit 537 - 4/23/2004 E-mail from John Lehmann to Carr and Uelmen Re.
                           "Draft data set for statistician"
  2244      REDACTED       Wong Deposition, 10/18/2016 - Exhibit 538 - 12/17/2004 Health Hazard Evaluation from David Ciavarella
                           to Doug Uelmen Re. "Recovery Filter - Consultant's Report", detailing the 76 reports of the Recovery filter,
                           with 32 serious injury and 10 deaths of the 20,827 units sold during the reporting period
  2245                     Wong Exh. 540, Recovery Gen 1, Fracture and Migration Complaint Update, 6-20-2006
  2245                     Wong Deposition, 10/18/2016 - Exhibit 540 - Confidential PowerPoint Presentation entitled "Recovery (Gen
                           1) - Fracture and Migration Complaint Update," dated 6/20/2006
  2246                     Wong Exh. 541, BPVE-01-01512188, Email from Natalie Wong to Gin Schulz Re RNF Fracture Report 8-1-
                           06, 8-4-2006
  2247                     Wong Deposition, 10/18/2016 - Exhibit 542 - 12/2/2009 E-mail exchange b/w Sandy Kerns and Natalie
                           Wong Re. "Filter Fractures"
  2248                     Wong Deposition, 10/18/2016 - Exhibit 543 - PAT PowerPoint Presentation entitled "G2 Caudal Migration
                           Update," dated 3/2/2006, which Wong circulated via e-mail on 3/2/2006 to several for the presentation that
                           afternoon
  2249                     Wong Deposition, 10/18/2016 - Exhibit 544 - 5/18/2006 Natalie Wong meeting documents, email re "Caudal
                           Investigation" with attachments of G2 Caudal Report 05.18.06 and Caudal Pre-PAT minutes



                                                            12
                  Case 2:15-md-02641-DGC Document 19444-2 Filed 07/10/19 Page 13 of 25

                                                  EXHIBIT 2
                                Admitted Exhibit List from Bellwether Trials and
                            Document deemed no longer subject to the Protective Order

Trial Ex.
                Notes                                                     Description
  No.
  2250                     Wong Deposition, 10/18/2016 - Exhibit 545 - BPV's Failure Investigation Report on the G2 Filter - Caudal
                           Migration, FIR-06-01-01, unsigned and forwarded by Wong to Gin Schulz for her review, in anticipation of
                           the Friday deadline
  2251                     Wong Deposition, 10/18/2016 - Exhibit 547 - 4/10/2006 High Importance E-mail from Cindi Walcott to
                           Allen, Schulz, and McDermott Re. "FW: FDA Request for Information"
  2252                     Wong Deposition, 10/18/2016 - Exhibit 548 - 9/25/2007 E-mail from John Lehmann to John Van Vleet and
                           John Reviere Re. "EVEREST FSR rev H and supporting redlines
  2253                     Wong Deposition, 10/18/2016 - Exhibit 549 - 5/27/2004 E-mail from Natalie Wong to Doug Uelmen Re.
                           "Recovery Stats"
  2254                     Wong Deposition, 10/18/2016 - Exhibit 552 - 2/17/2006 Memo from Mickey Graves and Natalie Wong Re.
                           "Recovery Filter (Generation 1) Product Assessment Team Minutes - Fractures"
  3262      REDACTED       Complaint File - 03/09/2010, 263280, G2 - RF310F, 2907 Detachment of device or device component
  3270      REDACTED       Complaint File - 03/30/2010, 266286, G2 - RF310F, 2907 Detachment of device or device component
  3304      REDACTED       Complaint File - 07/28/2010, 282326, Eclipse - EC500J, 2907 Detachment of device or device component;
                           2907M Filter Limb(s)
  3572                     Securities and Exchange Commission Form 10-K for C.R. Bard, Inc. for the fiscal year ended December
                           31st, 2016
  3573                     Securities and Exchange Commission Form 10-Q for C.R. Bard, Inc. for the quarterly period ended
                           September 30th, 2017
  4327      REDACTED       2/10/06 monthly meeting - redesign due to caudal migration (excludes last 4 pages)
  4328                     Ganser Exh. 517 Device Labeling Guidance, General Program Memorandum
  4330                     Asch Deposition, 05/02/2016 - Exhibit 206, July 21, 1999 letter to Dr. Freeland from Dr. Asch
  4332                     Updated CV of Murrary Asch
  4392                     Truthfulness and Accuracy Statement Vierling Deposition, Exhibit 227
  4409                     G2 Brochure 2


                                                           13
                  Case 2:15-md-02641-DGC Document 19444-2 Filed 07/10/19 Page 14 of 25

                                                  EXHIBIT 2
                                Admitted Exhibit List from Bellwether Trials and
                            Document deemed no longer subject to the Protective Order

Trial Ex.
                Notes                                                     Description
  No.
  4412                     Email from: Gin Schulz to Kevin Shiffrin regarding Recovery Filter Limb Fractures with attachment of RF
                           Limb detach
  4414                     Email from Brian Reinkensmeyer to Baird cc Pellicio and Randall re "Filter study Idea"
  4415                     Email from Mike Randall to Carr and Raji-Kubba re "Misclassified??"
  4416                     Bill Little email re Eclipse Filter Naming
  4420      REDACTED       Meridian Vena Cava Filter and Jugular Delivery System Product Performance Specification PPS, Revision 3
  4428                     Eclipse Vena Cava Filter Ad
  4430                     Eclipse Vena Cava Filter Brochure
  4433                     Eclipse Vena Cava Filter Patient Questions & Answers
  4438                     G2 Express Vena Cava Filter Brochure
  4454                     Eclipse Vena Cava Filter Concept POA, Revision 2
  4455                     Vail Vena Cava Filter DIS
  4456                     Eclipse Vena Cava Filter Product Performance Specification (PPS)
  4457                     Vail Filter System DFMEA
  4459                     Eclipse Vena Cava Filter Jugular Vein Approach IFU
  4467                     8/12/2011 email from Mike Randall to Joni Creal re Corp approval needed for Cleveland Clinic Studies w/
                           attached PowerPoint slides re Filter Fixation and Migration: Forces and Design
  4468                     6/10/2011 email from Mike Randall re Meridian Presentation for SSM 2011
  4469                     Data Source Evaluation memo from Natalie Wong to Quality Systems Coordinator, October 2010
  4486                     G2 Express Project Plan FM0700150 Rev 6 1-30-07
  4499                     Meridian Vena Cava Filter vs. Eclipse Vena Cava Filter
  4504      REDACTED       Monthly Management Report, dated 4/8/09
  4507      REDACTED       Monthly Management Report, dated 7/9/09

                                                            14
                      Case 2:15-md-02641-DGC Document 19444-2 Filed 07/10/19 Page 15 of 25

                                                        EXHIBIT 2
                                      Admitted Exhibit List from Bellwether Trials and
                                  Document deemed no longer subject to the Protective Order

Trial Ex.
                   Notes                                                        Description
  No.
  4509      REDACTED             Monthly Management Report, dated 10/8/09
  4512      REDACTED             Monthly Management Report, dated 1/1/10
  4514      REDACTED             Monthly Management Report, dated 3/8/10
  4515      Only admitted pgs.   Monthly Management Report, dated 4/8/10
            12 & 13
  4519      REDACTED             Monthly Management Report, dated 8/9/10
  4522      REDACTED             Monthly Management Report, dated 11/8/10
  4528      REDACTED             Monthly Management Report, dated 5/9/11
  4532      REDACTED             Monthly Management Report, dated 9/9/11
  4533      REDACTED             Monthly Management Report, dated 10/10/11
  4534      REDACTED             Monthly Management Report, dated 11/8/11
  4552                           Decant Deposition Exhibit 273, Failure Investigation Report, Recovery Filter Migration FIR-04-12-02, Rev.
                                 00
  4554                           NMT Medical, BSC Presentation, 5/22/2000
  4565                           FRE 1006 Chart - Plaintiff's Compilation Complaint Record Detail
  4595                           Kandarpa Deposition, 07/19/2018 - Exhibit 05 - Medical Monitor Meeting Minutes, August 29, 2005,
                                 Beechwood Hotel, Worcester, MA, Version 1.0 (6 pages), signed 12/16/05. *only the last page is bates
                                 stamped BBA-00012962
  4596                           Kandarpa Deposition, 07/19/2018 - Exhibit 06 - Everest Clinical Trial, Medical Monitor Meeting agenda and
                                 power point, June 19, 2006, Revision B
  4599                           Kandarpa Deposition, 07/19/2018 - Exhibit 09 - Summary of Filter Movement, 5mm or greater, Final
                                 Clinical Summary Report EVEREST
  4600                           Kandarpa Deposition, 07/19/2018 - Exhibit 10 - Device Observation Table (as of 10/23/2006)



                                                                 15
              Case 2:15-md-02641-DGC Document 19444-2 Filed 07/10/19 Page 16 of 25

                                              EXHIBIT 2
                            Admitted Exhibit List from Bellwether Trials and
                        Document deemed no longer subject to the Protective Order

Trial Ex.
            Notes                                                     Description
  No.
  4601                 Kandarpa Deposition, 07/19/2018 - Exhibit 11 - Listing of Device Observations, Final Clinical Summary
                       Report EVEREST
  4602                 Kandarpa Deposition, 07/19/2018 - Exhibit 12 - Adjudication Manual of Operations, EVEREST (trial exhibit
                       5983
  4603                 Kandarpa Deposition, 07/19/2018 - Exhibit 13 - Recovery G2 Filter System - Femoral and
                       Jugular/Subclavian Delivery Kits, Tradition 510(k), October 31, 2007
  4604                 Kandarpa Deposition, 07/19/2018 - Exhibit 14 - Article entitled "Technical Success and Safety of Retrieval
                       of the G2 Filter in a Prospective, Multicenter Study", Nov. 2009
  4607                 Kandarpa Deposition, 07/19/2018 - Exhibit 17 - Memorandum dated June 21, 2006 Subject: G2 Caudal
                       Migration Failure Investigation Team Agenda, From Natalie Wong
  4617                 VanVleet Deposition, 09/26/2016 - Exhibit 496 - Bard Recovery G2 EVEREST Final Study Report
  4785                 Fermanich Deposition, 3/17/17 - Exhibit 2: Email, from Tim Hug, 3/19/10, Re: Adversity-How are you
                       going to respond (6 pages)
  4786                 Fermanich Deposition, 3/17/17 - Exhibit 3: Email, from Tim Hug, 4/27/10, Re: Flair-April Expected
                       Results (3 pages)
  4794                 Fermanich Deposition, 3/17/17 - Exhibit 11: Email from Tim Hug to Hans Yentz (and others), 2/9/10,
                       Subject: Filter Accounts-Eclipse Transition (2 pages)
  4795                 Fermanich Deposition, 3/17/17 - Exhibit 12: G2 Filter product brochure (4 pages)
  4797                 Fermanich Deposition, 3/17/17 - Exhibit 14: Email from Tim Hug to Nine Aghakhan (and others), 3/24/10,
                       Subject: FW: G2 X not available for order (2 pages)
  4798                 Fermanich Deposition, 3/17/17 - Exhibit 15: Email from Bret Baird to TPW-PV Sales-DG, 4/28/10, Subject:
                       When was the last time… (2 pages)
  4800                 Fermanich Deposition, 3/17/17 - Exhibit 17: Email from David Ciavarella to Brian Berry (and others),
                       12/27/05, Subject: FW: G2 Caudal Migrations (2 pages)




                                                       16
                      Case 2:15-md-02641-DGC Document 19444-2 Filed 07/10/19 Page 17 of 25

                                                           EXHIBIT 2
                                         Admitted Exhibit List from Bellwether Trials and
                                     Document deemed no longer subject to the Protective Order

Trial Ex.
                   Notes                                                            Description
  No.
  4804      Only admitted 1st       Fermanich Deposition, 3/17/17 - Exhibit 21: Email from Mary Christine Starr to Matt Fermanich, 2/17/11,
            email, redacted other   Subject: RE: Technician Registration (4 pages)
            emails
  4806      Only admitted pg. 2     Fermanich Deposition, 3/17/17 - Exhibit 23: Email from Cynthia L. Haas to Matt Fermanich, 4/21/11,
                                    Subject: RE: Expired product (7 pages)
  4809                              Fermanich Deposition, 3/17/17 - Exhibit 26: Email from Tim Hug to Matt Fermanich, 12/13/00, Subject: G2
                                    Filter Discontinued (2 pages)
  4812                              Fermanich Deposition, 3/17/17 - Exhibit 29: BPV Memo from Filter Marketing to Bill Little, 4/27/10,
                                    Subject: Filter naming (2 pages)
  4820                              Fermanich Deposition, 3/17/17 - Exhibit 37: Health Hazard Evaluation memo from David Ciavarella to Gin
                                    Schulz, 2/15/06, Re: G2 Inferior Vena Cava Filter - Migration (3 pages)
  4842                              Hug Deposition, 8/23/17 - Exhibit 1117: Email to Nine Aghakhan from Tim Hug, 3/8/11, Subject: FW:
                                    GW Fem Filter Backorder (2 pages)
  4893                              GX2 Risk Analysis
  4894                              Eclipse Risk Analysis
  4895                              Meridian Risk Analysis
  4896                              Caudal Migration Testing Meridian and Optease
  4897                              G2 Express Product Performance Specification, PPS-8058
  4938                              BPV Consulting Request Form
  5001                              Dec. 2004 Dear Doctor Letter
  5003                              Feb. 8, 2005 Conference FDA and BPV re Recovery Retrievable (K031328)
  5017                              Aug. 5, 1999 R&D Technical Report RNF Migration Study, Design Verification (RD-RPT-100)
  5022                              RD-LNB-087 Laboratory Notebook
  5037                              ETR-05-02-02 (Effects of Changes to the Recovery Filter & The Femoral Delivery System on Filter Stresses
                                    Based on FEA Analysis)

                                                                    17
                  Case 2:15-md-02641-DGC Document 19444-2 Filed 07/10/19 Page 18 of 25

                                                  EXHIBIT 2
                                Admitted Exhibit List from Bellwether Trials and
                            Document deemed no longer subject to the Protective Order

Trial Ex.
                Notes                                                      Description
  No.
  5126                     Guidance for Industry and FDA Reviewers/Staff - Guidance for Cardiovascular Intravascular Filter 510(k)
                           Submissions
  5126                     Guidance for Industry and FDA Reviewers/Staff - Guidance for Cardiovascular Intravascular Filter 510(k)
                           Submissions
  5164                     July 8, 2003 Fax IMPRA to FDA re Recovery Retrievable (K031328)
  5169      REDACTED       Apr. 25, 2003 Recovery Retrievable Abbreviated 510(k) (K031328)
  5177                     Nov. 27, 2002 FDA Clearance Letter re Recovery Permanent (K022236) (Substantial Equivalence)
  5178                     Oct. 25, 2002 Letter IMPRA to FDA re Recovery (K022236)
  5179                     Oct. 4, 2002 Letter FDA to IMPRA re Recovery (K022236)
  5182                     Aug. 30, 2002 Letter IMPRA to FDA re Recovery (K022236)
  5187                     Aug. 5, 2002 Letter FDA to IMPRA re Recovery (K022236)
  5189                     July 10, 2002 IMPRA Recovery Permanent Special 510(k) (K022236)
  5193                     Feb. 28, 2005 Letter BPV to FDA re FDA AI re Recovery Retrievable (K031328)
  5195                     Nov. 30, 2004 Letter FDA to BPV re Recovery IFU and DDL, dear doctor letter
  5196                     Oct. 5, 2004 Letter BPV to FDA re Recovery IFU and DDL
  5197                     July 25, 2003 FDA Clearance Letter re Recovery Retrievable (K031328) (Substantial Equivalence)
  5232                     RD-RPT-116 (RNF Migration Study) (Test report for RD-SOP-035.02) RD-RPT-116
  5233                     RD-SOP-054.00 (Recovery Filter Endura TEC Fatigue Testing SOP NMT)
  5234                     RD-RPT-099 (Recovery Filter Endura TEC Fatigue Testing Report NMT)
  5238                     Slides from Bariatric Surgeons Panel Meeting on Feb. 12, 2005
  5239                     Jan. 21, 2005 Conference FDA and BPV re DDL and Recovery Retrievable (K031328)
  5247                     May 11, 2005 BPV began distributing DCL
  5252                     ETR-04-03-02 (RNF v. Competitive Product -- migration resistance)

                                                           18
                  Case 2:15-md-02641-DGC Document 19444-2 Filed 07/10/19 Page 19 of 25

                                                  EXHIBIT 2
                                Admitted Exhibit List from Bellwether Trials and
                            Document deemed no longer subject to the Protective Order

Trial Ex.
                Notes                                                     Description
  No.
  5268                     NMT's 510(k) (K963016) for modifications to the SNF(submitted by Hogan & Hartson)
  5272                     Nov. 23, 2009 BPV's Eclipse Filter System Special 510(k) (K093659)
  5273                     Jan. 14, 2010 FDA Clearance Letter Eclipse Filter (K093659) (Substantial Equivalence)
  5283                     G2 IFU (Femoral) PK5250500 Rev. 0 01/08
  5290                     TD-00456 (EVEREST Study Final Report)
  5296                     G2 Filter Product Performance Specification, v.2
  5301                     ETR-05-01-06 Animal Model Evaluation of Recovery Filter G1A Femoral System Report
  5302                     TPR 05-01-13 G1A Recovery Filter Femoral System Design Verification and Validation Protocol
  5303                     ETR-05-02-05 (G2® DV&V summary testing)
  5304                     ETR 05-02-11 G1A Recovery Filter Femoral System Chronic Animal Study Report
  5315                     Phase 2 Design Review G1A Recovery Filter Femoral Delivery System, BPV-17-01-00121226 -255
  5316                     Phase 3 Design Review (Design Review 3 & 4) G1A Recovery Filter Femoral Delivery System, BPV-17-01-
                           00121256 -286
  5322                     Nov. 2, 2005 FDA Grants Full Approval of G2 Everest Study (G051304)
  5323                     Aug. 8, 2005 FDA Grants BPV Conditional Approval for G2 Everest Study (G050134)
  5324                     July 8, 2005 BPV's original IDE submission re G2 Everest Study (G050134)
  5325      REDACTED       Oct. 3, 2005 Letter BPV to FDA re G2 Everest Study (G051034) and Conditional Approval
  5329      REDACTED       June 21, 2006 Letter BPV to FDA re G2 Everest Study (G051304) IDE Supplement
  5333                     Feb. 2, 2007 Letter BPV to FDA re G2 Everest Study (G051304) Annual Progress Report
  5334                     Sept. 21, 2007 Letter FDA to BPV Questions re G2 Everest Study (G051304)
  5335                     Aug. 23, 2007 Letter BPV to FDA re G2 Everest Study (G051304) Annual Progress Report
  5336                     Oct. 25, 2007 Letter BPV to FDA re Responses to FDA re G2 Everest Study (G051304), BPV-17-01-
                           00123498 -562

                                                           19
                  Case 2:15-md-02641-DGC Document 19444-2 Filed 07/10/19 Page 20 of 25

                                                  EXHIBIT 2
                                Admitted Exhibit List from Bellwether Trials and
                            Document deemed no longer subject to the Protective Order

Trial Ex.
                Notes                                                    Description
  No.
  5339                     Jan. 15, 2008 FDA Clearance Letter G2 Filter Retrievable (K073090) (Substantial Equivalence)
  5340                     Oct. 31, 2007 BPV's G2 Filter Retrievable Traditional 510(k) (K073090)
  5343                     Aug. 29, 2005 FDA Clearance Letter re G2 Permanent (K050558) (Substantial Equivalence)
  5344                     July 28, 2005 Letter FDA to BPV re AI re Modified Recovery (K050558)
  5348                     Mar. 30, 2005 Letter FDA to BPV re Modified Recovery (K050558)
  5349                     Mar. 2, 2005 BPV's Modified Recovery Filter Special 510(k) (K050558)
  5350      REDACTED       June 3, 2005 Letter BPV to FDA re Modified Recovery conversion Traditional 510(k) (K050558)
  5352                     Aug. 10, 2005 Letter BPV to FDA Responses to AI re G2 (K050558)
  5353                     Nov. 25, 2005 FDA Clearance Letter G2 Filter - Jugular (K052578) (Substantial Equivalence)
  5354                     Sept. 19, 2005 BPV's G2 Filter - Jugular Subclavian Delivery Kit Special 510(k) (K052578)
  5361                     Sept. 25, 2006 BPV's G2 Filter - Femoral Delivery Kit Special 510(k) (K062887)
  5362                     Oct. 26, 2006 FDA Clearance Letter G2 Filter - Femoral Delivery Kit (K062887)
  5368                     July 30, 2008 FDA Clearance Letter G2 Express Filter (K080668) (Substantial Equivalence)
  5373                     Mar. 7, 2008 BPV's G2 Express Filter Special 510(k) (K080668)
  5376                     Oct. 31, 2008 FDA Clearance Letter G2X Filter (K082305) Substantial Equivalence
  5379                     Aug. 12, 2008 BPV's G2X Filter Special 510(k) (K082305)
  5384                     G2 Express Feasibility Acute Animal Study Report TR-07-05-18
  5385                     G2 Express Filter Arm Fatigue Comparison TR-07-07-04
  5483                     sopq1417500 Rev 1 -- Statistical Complaint Trending Procedure PMA Related, BPV-17-01-00144123 - 126
  5486                     Dec. 17, 2009 Letter from BPV to FDA re Eclipse Filter System Response to FDA Questions (K093659)
  5488                     June 21, 2010 Letter from BPV to FDA re Eclipse Filter System Response to FDA Questions (K101431)



                                                           20
                      Case 2:15-md-02641-DGC Document 19444-2 Filed 07/10/19 Page 21 of 25

                                                        EXHIBIT 2
                                      Admitted Exhibit List from Bellwether Trials and
                                  Document deemed no longer subject to the Protective Order

Trial Ex.
                   Notes                                                          Description
  No.
  5523                           ETR-04-03-05 (RNF Characterization testing comparing GFO v. NMT manufactured filters) (followed TPR-
                                 04-02-02) ETR-04-03-05, Rev. 0 (GFO and NMT Manufactured Recovery; Filters Migration Resistance
                                 Comparison, Phase 1)
  5526                           TPR-04-02-02 (Protocol for RNF Migration Testing v. Competitive) Test Protocol Number TPR-04-02-02
                                 (Rev. 0) -- Characterization of the Recovery Filter (RF) - Migration Resistance
  5534                           Picture of Clot from Feb. 2004 RNF Migration
  5536                           Meeting Summary from Filter Expert Panel June 1, 2006
  5537                           June 2006 Expert Panel Meeting Slides
  5539      Only admitted pgs.   G2 Caudal Migration Failure Investigation Report Aug. 4, 2005 G2 Filter Caudal Migration Failure
            12 -32               Investigation Report (FIR-06-01-01) G2 Caudal Migration Failure Investigation Report
  5560                           Standard Operating Procedures / Division Operating Procedures -- CQA-STD-R002 Rev 11, BPV-17-01-
                                 00166749 - 776.
  5561                           Standard Operating Procedures / Division Operating Procedures -- CQA-STD-R002 Rev 12, BPV-17-01-
                                 00166777 -806
  5563                           Standard Operating Procedures / Division Operating Procedures -- CQA-STD-R002 REv 14
  5565                           Standard Operating Procedures / Division Operating Procedures -- RA-STD-002 Rev 10
  5586                           May 20, 2010 BPV's Eclipse Filter Special 510(k) (K101431)
  5587                           June 18, 2010 Letter FDA to BPV re FDA AI Demand re Eclipse (K101431)
  5588                           Dec. 15, 2009 Letter FDA to BPV re FDA Al Demand re Eclipse (K093659)
  5589                           June 22, 2010 - FDA Clearance Letter for Eclipse Filter (K101431) (Substantial Equivalence)
  5593                           Aug. 14, 2009 Conference FDA and BPV re future Eclipse Filter 510(k)
  5602      REDACTED             FDA CONTACT REPORT January 7 2010 FINAL
  5612      REDACTED             Nov. 17, 2009 (Filters and future submissions)



                                                                 21
                      Case 2:15-md-02641-DGC Document 19444-2 Filed 07/10/19 Page 22 of 25

                                                        EXHIBIT 2
                                      Admitted Exhibit List from Bellwether Trials and
                                  Document deemed no longer subject to the Protective Order

Trial Ex.
                   Notes                                                        Description
  No.
  5691      Only admitted pgs.   BPV FDA 483 Update Response March 26, 2015, BPV-17-01-00200156 - 338
            12-32
  5706      Only admitted pgs.   September 3 2015 Update Response to Warning Letter issued July 13 2015.pdf
            48-61
  5851                           TD-04698 Retrospective IVC Filter Review.pdf
  5872                           FDA Warning Close Out Letter
  5874                           Bard filter rate information December 2016
  5877                           1996 Memo from Veronica Price
  5879                           April 11, 2006 Letter to FDA re Caudal Migration
  5880                           March 23, 2006 Letter to FDA re G2 Caudal Migration
  5881                           May 11, 2006 Letter to FDA re Caudal Migration
  5905                           Jan. 22, 2005 Email to FDA
  5923      REDACTED             September 2010 Letter to Clinicians re FDA PHN
  5929                           TR-07-12-01 (Test Report re G2 Express DV& V Flat Plate Fatigue and Corrosion)
  5931                           G2X (Jugular) 2009.10 – PK5100070 rev. 5 IFU
  5942                           January 7, 2010 FDA PowerPoint Presentation
  5946                           QMBR—July 2006
  5949                           ETR-06-05-02 (Test report re G2® Clot Trapping Efficiency)
  5967                           G2 Risk Benefit Analysis (RBA-0003, Rev. 0)
  5970                           HHE re G2 Caudal Migration February 15, 2006
  5991                           FM1287100 Rev. 5 (MDR Reportability Guidelines)
  5994                           TD-04316 Nov. 4, 2015 FDA and Bard Teleconference
  5995                           TD-04326 Oct. 26, 2015 FDA and Bard Teleconference

                                                                 22
                       Case 2:15-md-02641-DGC Document 19444-2 Filed 07/10/19 Page 23 of 25

                                                             EXHIBIT 2
                                           Admitted Exhibit List from Bellwether Trials and
                                       Document deemed no longer subject to the Protective Order

Trial Ex.
                    Notes                                                            Description
  No.
  6013                                Dec. 27, 2010 Letter from BPV to FDA re Meridian
  6046                                August 28, 2006 EVEREST Medical Monitor Adjudication Meeting Minutes
  6061                                Aug. 22, 2005 Internal FDA memo reviewing BPV's Responses to FDA Al re G2 (K050558)
  6064                                July 26, 2005 Internal FDA memo re BPV Responses to FDA AI re Modified Recovery (K050558)
  6075                                Nov. 10, 2004 FDA Internal Memo re Dear Doctor Letter
  6082                                FDA_PRODUCTION_00001288 -- July 2, 2003 Email chain FDA and BPV re Recovery Retrievable
                                      (K031328)
  6089                                Product Development Cycle PPT
  6842      “Admitted for the         ACR-SIR-SPR Practice Parameter for the Performance of Inferior Vena Cava (IVC) Filter Placement for the
            limited purpose to        Prevention of Pulmonary Embolism. Revised 2016.
            establish knowledge
            to the medical
            community, not for
            the truth of the matter
            asserted.”
  6892                                Binkert CA, Drooz AT, Caridi JG, Sands MJ, Bjarnason H, Lynch FC, Rilling WS, Zambuto DA,
                                      Stavropoulos SW, Venbrux AC, Kaufman JA. Technical success and safety of retrieval of the G2 filter in a
                                      prospective, multicenter study. J Vasc Interv Radiol. 2009 Nov;20(11):1449-53. doi:
                                      10.1016/j.jvir.2009.08.007.
  6991                                FDA Safety - Inferior Vena Cava (IVC) Filters: Initial Communication: Risk of Adverse Events with Long
                                      Term Use, 08/09/2010.
  6992                                FDA Safety Communications, Removing Retrievable Inferior Vena Cava Filters. 05/06/2014.
                                      http://wayback.archive-
                                      it.org/7993/20170722215731/https://www.fda.gov/MedicalDevices/Safety/AlertsandNotices/ucm396377.htm
  6993                                FDA Safety Communications, Removing Retrievable Inferior Vena Cava Filters: Initial Communication.
                                      08/09/2010.
                                      http://www.fda.gov/MedicalDevices/Safety/AlertsandNotices/ucm221676.htm

                                                                      23
                       Case 2:15-md-02641-DGC Document 19444-2 Filed 07/10/19 Page 24 of 25

                                                             EXHIBIT 2
                                           Admitted Exhibit List from Bellwether Trials and
                                       Document deemed no longer subject to the Protective Order

Trial Ex.
                    Notes                                                              Description
  No.
  7312      “Admitted for the         SIR Guidelines for IVC Filters
            limited purpose to
            establish knowledge
            to the medical
            community, not for
            the truth of the matter
            asserted.”
  7411                                2008 Surgeon General's Call to Action re PE and DVT
  7753                                2014 Draft FDA Guidance re Benefit-Risk Factors When Determining Substantial Equivalence in Premarket
                                      Notifications 510k with Different Technological Characteristics
  7758                                2014 FDA Guidance re 510k Evaluating Substantial Equivalence in Premarket Notifications
  7771                                Braun Vena Tech LP Femoral – October 2010
  7787                                Cordis Optease Femoral Jugular Antecubital - 2013
  7795                                Screenshot from FDA, MAUDE - Manufacturer and User Facility Device Experience, available online at
                                      https://www.accessdata.fda.gov/ scripts/cdrh/cfdocs/cfmaude/search.cfm
  7960                                IVC Filters Clinical Overview
  7961                                Corporate Quality Assurance Manual, Standard for Product Complaint Handling
  7962                                Corporate Quality Assurance Manual, Standard for Medical Device Reporting
  7900                                Demonstrative depiction of sales of bard’s retrievable IVC filters
  8325                                Eclipse IFU 02.2010 PK5100600 Rev. 1
  8358                                TR-09-10-15 -- Eclipse Flat Plate Fatigue and Corrosion Examination of the Vail (Eclipse) Filter
  8359                                TR-09-10-16 DV&V Eclipse Filter Arm Fatigue Comparison Study (Project #8113)
  8362                                Eclipse Filter Patient Questions & Answers
  8368                                TP-09-10-15 Rev. 0 - Eclipse DV&V Flat Plate Fatigue and Corrosion Test Protocol
  8482                                Bard IVC Filter G3 Design/Development Timeline

                                                                       24
              Case 2:15-md-02641-DGC Document 19444-2 Filed 07/10/19 Page 25 of 25

                                              EXHIBIT 2
                            Admitted Exhibit List from Bellwether Trials and
                        Document deemed no longer subject to the Protective Order

Trial Ex.
            Notes                                                     Description
  No.
  8546                 Draft Test Report re Rotary Beam Fatigue of Nitinol Wire
  8572                 G3 Meeting Minutes Nov 27, 2007
  8574                 TR 09-10-10, Test Report Cyclic Fatigue Testing of Electropolished Vail Filter Wire
  8575                 TP 09-10-10, Test Protocol Cyclic Fatigue Testing of Electropolished Vail Filter Wire
  8583                 G3 Project Status Report April 19, 2006
  8837                 Defendants' Exhibit 10 to Joint Report on Determining Filter Type
  9080                 10/7/07 Email from Dr. Lehman


                        Document deemed no longer subject to the Protective Order


Trial Ex.
            Notes                                                     Description
  No.
908                    Ciavarella Deposition, 03/01/2011 - Exhibit 12 - 5/11/2005 "Dear Colleague" letter from BPV re. the
                       Recovery filter system




                                                       25
